259 F.2d 920
    William S. BROWN, Trustee in Bankruptcy of George Varratosand John Karaliotis, ind. and as copartners d/b/aWestern Food &amp; Bar, Appellant,v.ATLANTIC BANK OF NEW YORK, Appellee.
    No. 23, Docket 25101.
    United States Court of Appeals Second Circuit.
    Argued Oct. 8, 1958.Decided Oct. 22, 1958.
    
      William S. Brown, New York City, trustee-appellant pro se.
      Jerome Meckler, New York City (Sydney L. Bleicher, New York City, on the brief), for appellee.
      Before CLARK, Chief Judge, and MEDINA and LUMBARD, Circuit Judges.
      PER CURIAM.
    
    
      1
      What constitutes a reasonable time for the filing of a chattel mortgage under New York law is a question of fact to be determined upon all the circumstances in each case.  The mere fact that the mortgages in this case could have been filed immediately does not, without more, warrant the finding that the seven days' delay here was unreasonable.  R.F.C. v. Weiner, 2 Cir.,192 F.2d 760, certiorari denied Weiner v. R.F.C., 343 U.S. 956, 72 S.Ct. 1051, 96 L.Ed. 1356; In the Matter of the Assignment of Paramount Finishing Corp., 259 N.Y. 558, 182 N.E. 180, affirming 234 App.Div. 891, 254 N.Y.S. 967; Trimble v. Broun-Green Co., 105 Misc. 210, 172 N.Y.S. 726.  The Weiner case merely applied New York law and cannot be taken as establishing that a seven-day delay is always reasonable, but only that on facts such as these a finding of unreasonable delay cannot be based solely on the seven days elapsed.  The district court was therefore correct in reversing the referee's conclusion of invalidity.
    
    
      2
      Order affirmed.
    
    